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   1   disclaimers reinforcing the nature of the website since inception of the Plaintiffs’
   2   lawsuit. Raj Lahoti Trial Decl., ¶¶ 24-27; 29-34.]
   3            I.        The Materiality of the False and Misleading Advertising (¶¶95-99)
   4            95.
   5                                                           [TE 340.]
   6            96.
   7
   8                                                                        [TD Eric Creditor
   9   ¶¶4;6;9; TE 316; TD Shannon Robertson, ¶8.]
  10   [Disputed on the grounds that (i) other than the declaration of Shannon Robertson,
  11   there is no evidence that any consumers find the endorsement of a specific traffic
  12   school important; (ii) no evidence suggests that consumers care more about
  13   government recommendation of one acceptable course over another acceptable
  14   course; and (iii) Ms. Robertson is the only student Plaintiffs are aware of, out of
  15   hundreds, that expressed any confusion as to DMV.ORG, and is therefore
  16   insufficient. Designated Creditor Depo., 395:11-396:6, 396:20-397:15. Further,
  17   the following evidence refutes the finding: (i) a California resident would first and
  18   foremost want a traffic school that would mask the points from his/her driving
  19   record; (ii) even Plaintiffs’ expert, Maronick, construed the phrase “recommended
  20   by the DMV” to simply mean that a traffic school course would merely serve to
  21   discharge a traffic ticket; (iii) convenience and price are important factors for
  22   consumers; and (iv) the conversion rates for DMV.ORG (both before and after
  23   changes to the website), which are lower than Plaintiffs’ (regardless of the method of
  24   calculation), undermine the theory that DMV.ORG derives an unfair commercial
  25   advantage based on the alleged perceived endorsement. 11/6 TT 160:19-161:23;
  26   11/7 TT 10:3-6, 41:19-42:13, 206:19-207:20, 219:8-220:12; Designated Maronick
  27   Depo., 139:21-140:15; Moretti Trial Decl., ¶¶ 19-21; TE 67.]
  28            97.
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   1

   2                                                     [TD Eric Creditor ¶¶4;6;9; TE 316.]
   3   [This proposed finding again conflates two distinct issues: (i) mere government
   4   “acceptance” of a course (i.e., whether the course can mask points from one’s
   5   driving record); and (ii) endorsement by the state of one acceptable course over
   6   another. While sub (i) is material, sub (ii) is not material. Designated Maronick
   7   Depo., 139:21-140:15.]
   8            98.
   9
  10                                                          [TD Eric Creditor ¶¶4;9; TE
  11   316.]
  12   [Disputed on the grounds that consumers care first and foremost about receiving a
  13   certificate of completion that will be accepted by the state; there is no evidence that
  14   consumers care more about government recognition of one acceptable course over
  15   another acceptable course. 11/6 TT 160:19-161:18. Additionally, TSC’s sales of
  16   online traffic school prove that consumers do not care whether the course is
  17   licensed, as the state does not license homestudy or online courses. Kramer
  18   Designated Depo., 273:12-20, 274:25-275:4, 276:12-277:13; 11/6 TT 152:25-
  19   154:5.]
  20            99.
  21
  22                                                                   [TD Dr. Thomas
  23   Maronick, TE 350 (Study 4); TE 389 (Rebuttal Statement of Dr. Maronick).]
  24   [Disputed on the grounds that Maronick survey 4 was designed in a leading manner,
  25   requiring respondents to rank 8 pre-selected factors set forth in the survey by
  26   importance, rather than asking respondents an open-ended question. Moreover,
  27   Maronick understood the phrase “recommended by the DMV” to mean that a traffic
  28   school course would serve merely to discharge a traffic ticket, as compared to the
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   1   state’s endorsement of one acceptable school over another. Maronick Designated
   2   Depo., 116:25-117:10, 118:8-21, 125:8-126:17; 139:21-140:15; TE 144.]
   3            J.        The Actual and Likely Injury to Plaintiffs (¶¶100-105)
   4            100.
   5

   6                                                        [TD Chris Kramer ¶¶3,4,8.]
   7   [Disputed on the grounds that (i) the finding assumes a higher click-through rate for
   8   DMV.ORG (without any evidence in support thereof); and (ii) there is no evidence
   9   that the alleged higher click through rate for DMV.ORG has affected Plaintiffs. In
  10   fact, Plaintiffs slashed their internet marketing budget in favor of other media and
  11   acknowledged that a possible reason for the decline in TSC’s search engine
  12   marketing expenditures could stem from increased competition generally. TE 26;
  13   11/6 TT 183:10-184:22.]
  14            101.
  15
  16                                                                                     [TD
  17   Shannon Robertson, ¶¶3-6, Lisa Warren,¶9.]
  18   [Disputed on the grounds that the evidence cited is insufficient to support the finding
  19   in that (i) Ms. Robertson is the only student Plaintiffs are aware of that expressed
  20   some confusion as to DMV.ORG; and (ii) Ms. Warren was not a consumer looking
  21   for traffic school or drivers education services, but rather was in search of official
  22   state logos for her traffic school website. Designated Creditor Depo., 395:11-396:6,
  23   396:20-397:15; Warren Trial Decl., ¶¶ 5-6. Plaintiffs here suggest that this Court
  24   accept the evidence of one consumer.]
  25            102.
  26
  27

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   1                                                                                     [TD Eric
   2   Creditor ¶21; Depo. Steve Moretti, pp. 95:18-96:8]
   3   [Disputed on the grounds that (i) even Plaintiffs’ expert explained that a consumer is
   4   likely to hunt around on a variety of websites before making a purchasing decision;
   5   and (ii) the testimony cited does not support the statement, as the hypothetical posed
   6   in the cited testimony assumed that the consumer decided to purchase from a third
   7   party advertised on DMV.ORG, not that the consumer merely navigated to
   8   DMV.ORG as posed in this finding. Maronick Designated Depo., 217:13-17.
   9   Further, DMV.ORG’s conversion rates are lower than Plaintiffs’ (regardless of the
  10   method of calculation), demonstrating that consumers are not materially influenced
  11   by the DMV.ORG website. 11/7 TT 10:3-6, 206:19-207:20, 219:8-220:12; Moretti
  12   Trial Decl., ¶¶ 19-21.]
  13            103.
  14
  15                                                                             [TD Eric Creditor
  16   ¶21; Depo. Steve Moretti, pp. 95:18-96:8.]
  17   [Disputed on the grounds that, unlike Plaintiffs (whose core business entails the sale
  18   and provision of traffic school and drivers education services), DMV.ORG does not
  19   sell traffic school and drivers education services; rather it advertises the services of
  20   third parties. 11/7 TT 103:2-22, 169:15-25.] Further, Plaintiffs have failed to offer
  21   any evidence of injury or any evidence to correlate some alleged injury to
  22   DMV.ORG. The cited testimony merely posed a hypothetical which assumed that the
  23   consumer decided to purchase from a third party advertised on DMV.ORG.]
  24            104.
  25                      [TD Eric Creditor ¶¶21-24; ¶25 (except lines 26 at “Increased...” to line
  26   28 finishing with “listings.”; ¶26; TE 365.]
  27   [Disputed on the grounds that Plaintiffs failed to produce any evidence correlating
  28   any conduct by Defendants to any injuries they have allegedly incurred.
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   1   Additionally, Direct’s sales were actually in an upward trend at the time it initiated
   2   contact with Defendants to advertise on DMV.ORG, and other factors, such as
   3   increased competition in the marketplace, Plaintiffs’ marketing decisions, and
   4   business structure with their partners, may explain any modest decline in Plaintiffs’
   5   sales. Designated Leach Depo., 30:18-31:14; 11/6 TT 163:19-168:12, 177:22-
   6   181:12, 183:10-184:12, 184:17-22; Creditor Decl., ¶ 24; TE 67.]
   7            105.
   8                                       [TD Eric Creditor ¶¶21-24; ¶25 (except lines 26 at
   9   “Increased...” to line 28 finishing with “listings.”; ¶26; TE 365.]
  10   [Disputed on the grounds that Plaintiffs failed to produce any evidence correlating
  11   any conduct by Defendants to any injuries they have allegedly incurred.
  12   Additionally, Direct’s sales were actually in an upward trend at the time it initiated
  13   contact with Defendants to advertise on DMV.ORG, and other factors, such as
  14   increased competition in the marketplace, Plaintiffs’ marketing decisions, and
  15   business structure with their partners, may explain any modest decline in Plaintiffs’
  16   sales. Designated Leach Depo., 30:18-31:14; 11/6 TT 163:19-168:12, 177:22-
  17   181:12, 183:10-184:12, 184:17-22; Creditor Decl., ¶ 24; TE 67.]
  18            K.        Steve Moretti Testified Falsely: Page View Statistics (¶¶106-110)
  19            106.
  20
  21
  22
  23
  24   [Disputed on the grounds that line of questioning for each witness is different and to
  25   the extent that the questions are similar, the testimony is consistent. Specifically,
  26   Mr. Lahoti only testified as to Online Guru’s capability to determine, of visitors
  27   landing on a traffic school page, what percentage viewed other pages (confirmed by
  28   Mr. Moretti), not that Online Guru could track the actual number of pages viewed or
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   1   the percentage of visitors that exited the page by clicking specifically on the I Drive
   2   Safely advertisement.]
   3            107.
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   8
   9   [11/7 TT, pp. 176:25-179:16.]
  10   [Disputed on the grounds that the statement offers no evidence indicating that
  11   consumers looking for traffic school or drivers education are unique (in that they
  12   would view less than 5 webpages during their visit) in comparison to the average
  13   visitor to DMV.ORG. And rather, according to the testimony cited, a visitor that
  14   lands on an interior page of the site is more likely to visit other pages of the website
  15   than a visitor that lands on the DMV.ORG homepage.]
  16            108.
  17
  18
  19                          [TE 110, DEF-02534.]
  20            109.
  21                                                                                     [TE
  22   109, p. 2536; TT 11/7 , pp. 198:24-199:12.]
  23
  24
  25                      [11/7 TT, p. 198:13-18.]
  26   [Disputed on the grounds that the statement misleadingly suggests that the only way
  27   to exit the California traffic school page is through the link for “I Drive Safely.” To
  28   the contrary, as elicited by the Court’s own question, visitors could exit the page by
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   1   typing a new domain, as well as at least 4 other methods (i.e., closing the web
   2   browser, clicking on the web browser’s home button, clicking on bookmarks, or
   3   clicking on another advertisement). 11/7 TT 197:1-11; 217:24-218:21.]
   4            110.
   5                      ,
   6
   7
   8                 [TE 109, p. 2537; 11/7 TT, pp. 195:14-196:20].
   9
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  12

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  15
  16            L.        Steve Moretti Testified Falsely: Defendants’ Conversion Data
  17                      (¶¶111-115)
  18            111.
  19                                                      [TD Steve Moretti, ¶¶18-23; 11/7
  20   TT, pp. 199:24-207:25.]
  21   [Mr. Moretti’s trial declaration testimony is not false; conversion rates can be
  22   calculated in at least two different ways, one of which was described in Mr.
  23   Moretti’s declaration. 11/7 TT 215:7-16. And, even when calculating the
  24   conversion rates by the method most favorable to Plaintiffs, DMV.ORG’s conversion
  25   rates are still lower than Plaintiffs’ conversion rates, undermining the materiality
  26   thesis. 11/7 TT 10:3-6, 206:19-207:20, 219:8-220:12; Moretti Trial Decl., ¶¶ 19-
  27   21.]
  28            112.
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   2                                                          . [TD Steve Moretti, ¶18.]
   3            113.
   4
   5

   6                                                             . [TD Steve Moretti, ¶22.]
   7   [Disputed on the grounds that even when DMV.ORG’s conversion rates are
   8   calculated using Plaintiffs’ method, they are still lower than Plaintiffs’ conversion
   9   rates, undermining Plaintiffs’ thesis that perceived affiliation confers an unfair
  10   advantage. 11/7 TT 10:3-6, 206:19-207:20, 219:8-220:12. Thus, the conclusion is
  11   supported regardless of which method is employed for calculation of the conversion
  12   rate and is reinforced by Plaintiffs’ own statements over the years that traffic from
  13   DMV.ORG is unqualified/poor (i.e., unlikely to produce a sale). 11/7 TT 70:7-12,
  14   73:4-74:9, 75:18-76:4, 83:24-84:2, 84:21-85:12; TEs 45, 688.]
  15            114.
  16
  17
  18                                                           . [11-7 TT, pp. 199:25-
  19   205:14.]
  20   [The definition of conversion rate is irrelevant, because even when calculated using
  21   the method suggested by Plaintiffs at trial, DMV.ORG’s conversion rates are still
  22   lower than Plaintiffs’ conversion rates. 11/7 TT 10:3-6, 206:19-207:20, 219:8-
  23   220:12.]
  24            115.
  25
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   4   [11/8 TT, pp. 18:23-20:9],
   5

   6   [This finding is a gratuitous and entirely unwarranted assault on Mr. Moretti’s
   7   honesty. As explained at trial, conversion rates can be calculated in at least two
   8   different ways and, by either method of calculation, DMV.ORG’s conversion rates
   9   are lower than Plaintiffs’ own, negating any alleged materiality. 11/7 TT 10:3-6,
  10   206:19-207:20, 215:7-16, 219:8-220:12. Further, the suggestion the DMV.ORG
  11   did not produce data is outrageous - Defendants produced 19 different statistical
  12   reports (TEs 5-8, 109-111, 641-646, 672-677).]
  13            M.        Findings Related to Alleged Unclean Hands and Laches Defenses
  14                      (¶¶116-121)
  15            116.
  16
  17                                                                 [TE 623-625; TD Eric
  18   Creditor, ¶¶32-33.]
  19   [Disputed on the grounds Plaintiffs had knowledge of the website in 2002 and that
  20   the website was not fundamentally different. For example, the website has always
  21   used the DMV.ORG domain, has had the bottom disclaimer since 2002, and has used
  22   the phrase “No need to stand in line, your DMV guide is no online” (or similar)
  23   since 2004. TEs 623-625, 631.]
  24            117.
  25                                                                            [TE 623-624;
  26   11/6 TT, p. 70:3-19.]
  27   [Disputed to the extent that the statement implies that the website was any different
  28   in 2004, 2005 and/or 2006, which it was not.]
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   1            118.
   2                [11/6 TT, pp. 75:8-78:5.]
   3
   4
   5                                                 [11/6 TT, pp. 80:16-24.]
   6   [Disputed on the grounds that, though the content and structure of DMV.ORG was
   7   revised in October 2006, the primary nature of the website remained substantially
   8   similar to the prior content. (Compare TE 627 to 628.) And, prior to the lawsuit, in
   9   addition to the bottom disclaimer on every page of the website, there was also
  10   clarifying language in the introductory sentence on the homepage, explaining:
  11   “Since government sites can sometimes be confusing to use, we have made this guide
  12   for the average user to understand” (or similar). Raj Lahoti Trial Decl., ¶ 35; TEs
  13   627, 628.]
  14            119.
  15
  16
  17
  18
  19                               [TD Eric Creditor ¶¶33;34;36-37; 11/7 TT, pp. 166:17-
  20   167:2.]
  21   [Disputed on the grounds that (i) Direct was formed to spin off the drivers education
  22   portion of TrafficSchool.com’s business and has common owners and business
  23   space, (ii) Leach, President of Direct from approximately July 2006-January 2007,
  24   was instructed by Kramer (co-founder of TSC and Direct) to initiate the negotiations
  25   with DMV.ORG, and (iii) these negotiations ultimately resulted in an executed
  26   affiliate agreement. [Designated Leach Depo., 8:9-9:21, 28:1-31:23, 32:8-12,
  27   32:23-33:14; TE 37; 11/7 TT 88:19-88:21.] Disputed that “rampant consumer
  28   confusion was taking place,” or that there were any pending objections from the
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   1   state regarding DMV.ORG to disclose to Plaintiffs. 11/6 TT 82:8-83:12; see
   2   also Defendants’ Statement of Dispute in Response to Proposed Fact No. 78.]
   3            120.
   4
   5

   6   [TD Eric Creditor ¶30.]
   7   [Disputed on the grounds that Plaintiffs do in fact object to the mere descriptive and
   8   fair use of the term DMV in the operative complaint. See generally Plaintiffs’ TAC.]
   9            121.
  10                                                                           [TD Eric
  11   Creditor ¶31.]
  12   [Disputed on the grounds that, although the California Department of Motor
  13   Vehicles does not license online traffic schools, Plaintiffs have used the domain
  14   names dmvapprovedtrafficschool.com and cadmvtrafficschool.com to falsely claim
  15   such approval. 11/6 TT 151:20-152:24, 154:19-155:18, 155:24-156:18, 157:23-
  16   158:6, 158:14-159:2; TEs 89-90. Further, Plaintiffs have also registered domains
  17   such as internet-dmv.org and online-dmv.org (despite the fact that they could not
  18   identify a business purpose for registering such domains). 11/6 TT 212:21-214:1;
  19   TE 691.]
  20            N.        Factual Findings Relating to Remedies: Injunction (¶¶122-128)
  21            122.                                                              .
  22   [Disputed on the grounds that Plaintiffs failed to establish that DMV.ORG is
  23   materially misleading to any significant portion of the millions of visitors to the
  24   website. Further, the current version of the website includes numerous prominent
  25   disclaimers, well beyond what the government required of FreeCreditReport.Com or
  26   any other cited case, negating any need for an injunction. Compare TE 631 and
  27   Defendants’ RJN No. 3.]
  28            123.
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   3   [Disputed on the grounds that such draconian relief would be unprecedented and
   4   would destroy the goodwill that DMV.ORG has cultivated. 11/7 TT 153:3-154:5,
   5   155:7-156:15, 157:5-25; Raj Lahoti Trial Decl., ¶¶ 5-6, 19. Further, such a remedy
   6   would conflict with principles of equitable relief. ALPO Petfoods v. Ralston Purina
   7   Co., 913 F.2d 958, 972 (D.C. Cir. 1990) ("the law requires that courts closely tailor
   8   injunctions to the harm that they address"); Forschner Group v. Arrow Trading Co.,
   9   124 F.3d 402, 406 (2d Cir. 1997) ("It is well-settled that the essence of equity
  10   jurisdiction has been the power to grant relief no broader than necessary to cure the
  11   effects of the harm caused by the violation.").]
  12            124.
  13
  14
  15
  16   [Such a remedy would be draconian in that it would have a material impact on the
  17   website since splash pages are uncommon, disrupt a visitor’s flow, and can actually
  18   confuse visitors. 11/7 TT 158:12-159:13; Dept. Health & Human Svcs.,
  19   Research-Based Web Design & Usability Guidelines, § 2.1(2006) (avail. at
  20   www.usability.gov) (“Users have commented that unsolicited windows or graphics
  21   that ‘pop up’ are annoying and distracting when they are focusing on completing
  22   their original activity.”). Further, such a remedy would conflict with principles of
  23   equitable relief. ALPO Petfoods v. Ralston Purina Co., 913 F.2d 958, 972 (D.C.
  24   Cir. 1990) ("the law requires that courts closely tailor injunctions to the harm that
  25   they address"); Forschner Group v. Arrow Trading Co., 124 F.3d 402, 406 (2d Cir.
  26   1997) ("It is well-settled that the essence of equity jurisdiction has been the power to
  27   grant relief no broader than necessary to cure the effects of the harm caused by the
  28   violation.").]
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   1            125.
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  11            126.
  12

  13
  14                         [11-7 TT, p. 153:1-5; p.154:1-5.]
  15
  16
  17   [Disputed on the grounds that DMV.ORG has not engaged in any illegal conduct to
  18   obtain the recognition it receives on the internet. Rather, DMV.ORG’s success is
  19   due to the significant resources it has invested in the website and the valuable
  20   information that it provides to consumers who cannot find the information they are
  21   looking for on less helpful government websites. Raj Lahoti Trial Decl., ¶¶ 5-6, 19;
  22   11/7 TT 153:3-154:5; TEs 635, 637; Dept. Health & Human Svcs., Research-Based
  23   Web Design & Usability Guidelines, § 2.1(2006) (avail. at www.usability.gov)
  24   (“Users have commented that unsolicited windows or graphics that ‘pop up’ are
  25   annoying and distracting when they are focusing on completing their original
  26   activity.”).]
  27            127.
  28
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   8                                            [11-7 TT, p. 154:6-157:27.]
   9   [Disputed on the grounds that such a remedy would be draconian as it would destroy
  10   the goodwill that Online Guru has built for DMV.ORG since 2002, taking years to
  11   build a new brand and consumer recognition. 11/7 TT 153:3-154:5, 155:7-156:15,
  12   157:5-25; Raj Lahoti Trial Decl., ¶¶ 5-6, 19.]
  13            128.
  14
  15
  16                 [11-7 TT, p. 158:12-19].
  17
  18                      [11-7 TT, p. 158:22 - 159:13.]
  19   [Disputed on the ground that such a remedy would be draconian in that it would
  20   have a material impact on the website since splash pages are uncommon, disrupt a
  21   visitor’s flow, and can actually confuse visitors. Moreover, such a remedy would be
  22   improper, as it applies to the entire website and therefore is not narrowly tailored to
  23   address Plaintiffs’ false advertising claims, which relate to the very specific and few
  24   advertisements (relative to the entire site) of third party traffic school and drivers
  25   education providers. Raj Lahoti Trial Decl., ¶ 3(a)-(m).]
  26            O.         Factual Findings Relating to Remedies: Defendants’ Profits/Drivers
  27                       Education and Traffic School Revenues/Advertising Costs/Laches
  28                       Rebuttal (¶¶129-144)
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   1            129.
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   6            130.
   7   (Exhibit 668).
   8   [Irrelevant in light of (i) Plaintiffs’ admission that DMV.ORG was not actionable
   9   until October 2006 (see Defendant’s RJN Nos. 1-2) and (ii) the only damage remedy
  10   articulated by Plaintiffs - ten percent of defendants' profits on traffic school and
  11   driver's education in California, Florida, and Texas since October 2006. (Pre-Trial
  12   Conf. Hearing, 10/16/2007, 13:19-15:12).]
  13            131.                                                 . (TE 668).
  14   [Irrelevant in light of (i) Plaintiffs’ admission that DMV.ORG was not actionable
  15   until October 2006 (see Defendant’s RJN Nos. 1-2) and (ii) the only damage remedy
  16   articulated by Plaintiffs - ten percent of defendants' profits on traffic school and
  17   driver's education in California, Florida, and Texas since October 2006. (Pre-Trial
  18   Conf. Hearing, 10/16/2007, 13:19-15:12).]
  19            132.                                                   (TE 115).
  20   [Irrelevant in light of (i) Plaintiffs’ admission that DMV.ORG was not actionable
  21   until October 2006 (see Defendant’s RJN Nos. 1-2) and (ii) the only damage remedy
  22   articulated by Plaintiffs - ten percent of defendants' profits on traffic school and
  23   driver's education in California, Florida, and Texas since October 2006. (Pre-Trial
  24   Conf. Hearing, 10/16/2007, 13:19-15:12).]
  25            133.                                                   (TE 115).
  26   [Disputed on the grounds that the statement fails to take into account other
  27   expenses, such as rent and utilities, salaries and benefits, legal, accounting, taxes
  28   and licenses, etc., which bring Online Guru’s net profits down to $4,484,389. TE
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   1   680. Further, in the event that the Court finds that Plaintiffs are entitled to some
   2   monetary remedy (which Defendants do not concede is appropriate), Online Guru’s
   3   entire net profits (including other referral income not at issue) are irrelevant in light
   4   of (i) Plaintiffs’ admission that DMV.ORG was not actionable until October 2006
   5   (see Defendant’s RJN Nos. 1-2) and (ii) the only damage remedy articulated by
   6   Plaintiffs - ten percent of defendants' profits on traffic school and driver's education
   7   in California, Florida, and Texas since October 2006. (Pre-Trial Conf. Hearing,
   8   10/16/2007, 13:19-15:12). See also Defendants’ Closing Brief, § 8.1.]
   9            134.
  10                      . [TE 680.]
  11   [Disputed on the grounds that the statement fails to take into account other
  12   expenses, such as rent and utilities, salaries and benefits, legal, accounting, taxes
  13   and licenses, etc., which bring Online Guru’s net profits down to $4,213,571. TE
  14   680. Further, in the event that the Court finds that Plaintiffs are entitled to some
  15   monetary remedy (which Defendants do not concede is appropriate), Online Guru’s
  16   entire net profits (including other referral income not at issue) are irrelevant in light
  17   of the only damage remedy articulated by Plaintiffs - ten percent of defendants'
  18   profits on traffic school and driver's education in California, Florida, and Texas
  19   since October 2006. (Pre-Trial Conf. Hearing, 10/16/2007, 13:19-15:12). See also
  20   Defendants’ Closing Brief, § 8.1.]
  21            135.
  22
  23
  24                             [Depo. Moretti, p. 73:2-7.]
  25   [Disputed on the grounds that: DMV.ORG only advertises (does not sell) third party
  26   traffic school and drivers education courses.]
  27            136.
  28                                    [TE 681; 11/6 TT, pp. 40:17-44:4.]
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   1   [Disputed on the grounds that Online Guru does not sell drivers education courses;
   2   rather it advertises the services of others. Raj Lahoti Trial Decl., ¶ 8; 11/7 TT
   3   169:15-25.]
   4            137.
   5

   6
   7
   8
   9
  10   [Disputed on the grounds that the statement fails to take into account other
  11   expenses, such as rent and utilities, salaries and benefits, legal, accounting, taxes
  12   and licenses, etc., which bring Online Guru’s net profit margin in 2006 to 38.5%.
  13   Moretti Trial Decl., ¶ 30; TE 680. Also, Plaintiffs now fail to conform their profit
  14   analysis to their position that DMV.ORG was not actionable until October 2006 (see
  15   Defendants’ RJN Nos. 1-2) and the damage remedy articulated by Plaintiffs at the
  16   pre-trial conference - i.e., ten percent of Defendants' profits on traffic school and
  17   driver's education in California, Florida, and Texas since October 2006. (Pre-Trial
  18   Conf. Hearing, 10/16/2007, 13:19-15:12).] However, there is no evidence that
  19   Plaintiffs even occupy ten percent of the market in Florida or Texas; rather, the
  20   evidence suggests that Plaintiffs’ market share is substantially less. 11/7 TT 11:15-
  21   12:2, 13:6-17:4; Defendants’ Second RJN No.1.]
  22            138.
  23
  24
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  26
  27

  28
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               PLAINTIFFS’ POST TRIAL [PROPOSED] FINDINGS OF FACTS AND CONCLUSIONS OF LAW
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   1

   2   [Disputed on the grounds that the statement fails to take into account other
   3   expenses, which bring Online Guru’s profit margin in 2007 to 33.1%. Moretti Trial
   4   Decl., ¶ 31; TE 680. Also, Plaintiffs now fail to conform their profit analysis to the
   5   damage remedy articulated by Plaintiffs at the pre-trial conference - i.e., ten percent
   6   of Defendants' profits on traffic school and driver's education in California, Florida,
   7   and Texas since October 2006. (Pre-Trial Conf. Hearing, 10/16/2007, 13:19-15:12).
   8   However, there is no evidence that Plaintiffs even occupy ten percent of the market
   9   in Florida or Texas; rather, the evidence suggests that Plaintiffs’ market share is
  10   substantially less. 11/7 TT 11:15-12:2, 13:6-17:4; Defendants’ Second RJN No.1.]
  11            139.
  12                                       [TE 668.]
  13            140.
  14                                       [TE 115].
  15            141.
  16                                              [TE 115].
  17            142.
  18
  19   [TE 680].
  20            143.
  21
  22
  23                                                                  [TE 115, TE 680].
  24   [Online Guru’s profits prior to October 2006 are irrelevant in light of (i) Plaintiffs’
  25   admission that DMV.ORG was not actionable until October 2006 (see Defendant’s
  26   RJN Nos. 1-2) and (ii) the only damage remedy articulated by Plaintiffs - ten percent
  27   of defendants' profits on traffic school and driver's education in California, Florida,
  28   and Texas since October 2006. (Pre-Trial Conf. Hearing, 10/16/2007, 13:19-15:12).
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   1   As to the communications from California, there is no evidence relating to what
   2   prompted the State of California to send letters - no person representing the State of
   3   California was ever called as a witness.]
   4            144.
   5                       [11/6 TT, pp. 74:12-75:7.]
   6   [As testified by Mr. Lahoti, the increase in marketing expenditures was typical of a
   7   company that is growing. 11/6 TT 74:12-75:7.]
   8   II. CONCLUSIONS OF LAW
   9            A.        Elements of False Advertising Under 15 U.S.C. § 1125(a)(1)(B)
  10            1.
  11
  12

  13
  14
  15                                15 U.S.C. § 1 l25(a)(1)(B).
  16   [Disputed. Plaintiffs selectively quote the false advertising statute in an attempt to
  17   import into the false advertising prong ((a)(1)(B)) a general trademark origin claim
  18   (i.e., use of the DMV abbreviation). The false advertising prong expressly restricts
  19   "origin" type claims to that of false or misleading statements as to "geographic
  20   origin." See Waits v. Frito-Lay, Inc., 978 F.2d 1093 (9th Cir. 1992) (singer Tom
  21   Waits has standing under false association prong ((a)(1)(A)) to sue Frito Lay for
  22   misuse of his (or similar) voice, because he has an interest in his voice); and 3
  23   GILSON ON TRADEMARKS § 11.06[1] (2007) (noting that though Waits had
  24   standing, a mere competitor to Frito Lay would not have standing to object to Frito
  25   Lay's use of Waits' voice). This proposed finding illustrates a fundamental weakness
  26   in Plaintiffs' standing in this case: they own no interest in the mark at issue.]
  27            2.
  28
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               PLAINTIFFS’ POST TRIAL [PROPOSED] FINDINGS OF FACTS AND CONCLUSIONS OF LAW
